IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANET MONGE,
Plaintiff CIVIL ACTION
¥. ‘

UNIVERSITY OF PENNSYLVANIA ef al, :
Defendants : No. 22-2942

ORDER

And now this & Vag of March, 2023, upon consideration of Dr. Deborah Thomas’s
Motion to Dismiss Dr. Janet Monge’s Amended Complaint (Doc, No. 40), Dr. Monge’s
Memorandum of Law in Opposition to Dr. Thomas’s Motion to Dismiss (Doc. No. 76), Dr.
Thomas’s Reply Memorandum of Law in Support of Her Motion to Dismiss (Doc. No. 90), and
Dr. Monge’s Supplemental Memorandum in Support of Her Response to the Defendants’ Motions
to Dismiss (Doc. No. 102), it is hereby ORDERED that Dr. Thomas’s Motion to Dismiss (Doc.
No, 40) is GRANTED WITH PREJUDICE as to the defamation, defamation by implication,
false light, and civil aiding and abetting causes of action alleged in Dr. Monge’s amended

complaint for the reasons set forth in the accompanying memorandum.

BY THE COURT:

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E.K. PRATTER
NITED STATES DISTRICT JUDGE

 

  
